
PER CURIAM.
Shawn Demontre Cooler appeals his conviction and sentence for grand theft. We affirm on all the issues he raises except for one, the trial court’s imposition of discretionary costs and fines of $180 and $10 under § 775.083 and § 938.04, Florida Statutes.
We have held that trial courts imposing discretionary costs against a criminal defendant must specifically pronounce them orally at sentencing and provide the defendant an opportunity to contest them. Nix v. State, 84 So.3d 424, 426 (Fla. 1st DCA 2012). Here, the trial court orally pronounced costs and fines levied against Mr. Cooler as a lump sum, without delineating which costs were discretionary. As we have held before, a trial court may not impose discretionary costs without notifying the defendant. Id. On remand, the *918trial court must provide notice of the discretionary costs it plans to impose upon Mr. Cooler and give him an opportunity to object to them, or it can strike them.
AFFIRMED in part and REVERSED in part.
ROWE, OSTERHAUS, and WINOKUR, JJ., CONCUR.
